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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                BID PROTEST

FMS INVESTMENT CORP., et al.,                     )
                                                  )
       Plaintiffs,                                )
                                                  )
v.                                                )             No. 18-204C
                                                  )             (Consolidated)
UNITED STATES OF AMERICA,                         )
                                                  )             Judge Thomas C. Wheeler
       Defendant,                                 )
                                                  )
and                                               )
                                                  )
PERFORMANT RECOVERY, INC., et al.,                )
                                                  )
       Defendant-Intervenors.                     )
                                                  )

              PLAINTIFF PROGRESSIVE FINANCIAL SERVICES, INC.’S
             NOTICE REGARDING DEFENDANT’S MOTION TO DISMISS

       In accordance with the Court’s May 7, 2018 order, ECF No. 190, Plaintiff, Progressive

Financial Services, Inc., (“Progressive”), through the undersigned counsel, hereby notifies the

Court of its intention to oppose Defendant’s Motion to Dismiss the subject Protest pursuant to

12(b)(1) of the Rules of the United States Court of Federal Claims. ECF No. 189.


Date: May 10, 2018                                    Respectfully submitted,


                                                      /s/ Thomas A. Coulter
                                                      Thomas A. Coulter
                                                      O’Hagan Meyer PLLC
                                                      411 E. Franklin Street, Suite 500
                                                      Richmond, VA 23219
                                                      Tel: (804) 403-7130
                                                      Fax: (804) 403-7110
                                                      E-mail: tcoulter@ohaganmeyer.com
                                                      Counsel of Record for Progressive
                                                      Financial Services, Inc.
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Of counsel:

Nicole Hardin Brakstad
O’Hagan Meyer PLLC
411 E. Franklin Street, Suite 500
Richmond, VA 23219
Tel: (804) 403-7129
Fax: (804) 403-7110
E-mail: nbrakstad@ohaganmeyer.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2018, using the CM/ECF system, I caused to be served

via electronic means the foregoing Notice on all parties.




                                                     /s/ Thomas A. Coulter
                                                     Thomas A. Coulter




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